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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
                                                     §
vs.                                                  §        CASE NUMBER 3:18-CR-409-M
DWAINE CARAWAY (01)                                  §


           DEFENDANT’S THIRD UNOPPOSED MOTION FOR CONTINUANCE

TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES, Dwaine Caraway, Defendant in the above styled-number case, and files this

Third Unopposed Motion For Continuance of the Sentencing Hearing date and would respectfully

show the Court as follows:

                                                         I.

         The case is currently set for sentencing on April 5, 2019 at 1:30 p.m. Defense counsel and

Mr. Andrew Wirmani, Assistant United State Attorney spoke on Thursday, February 14, 2019

regarding this motion. During that conversation the undersigned and Mr. Andrew Wirmani,

Assistant United State Attorney agreed to the filing and granting of this motion for the following

reasons:

1.       Mr. Andrew Wirmani, Assistant United States Attorney in charge of this case is scheduled

         to start a trial on February 18, 2019 and said trial is expected to last between 6-8 weeks. This

         will in all likelihood create a conflict with the current sentencing date and other related

         deadlines.

2.       Defense attorney has been ill since January 23, 2019 and under the care and treatment of his



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         primary doctor and a cardiologist and has undergone a number of heart relate medical tests,

         that has interfered with his ability to work full time.

3.       As such, the Parties request that this Honorable Court, continue the sentencing date from

         April 5, 2019 to a date in late June or early July 2019, and also reset any and all currently

         pending deadline accordingly.

4.       Attorney for the United States is not opposed to this request as evidenced by the certificate

         of conference below.

                                                           II.

         This motion is not made for the purpose of delay, but so that justice may be done.

                                                          III.

         WHEREFORE, Defendant prays this Unopposed Motion be granted and that the sentencing

in this case be reset to another date in late June or early July 2019.

                                                     Respectfully submitted,

                                                     PAYMA, KUHNEL & SMITH, P.C.
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                                                     /s/ Michael D. Payma
                                                     MICHAEL D. PAYMA
                                                     Michael@pksattorneys.com
                                                     State Bar No.: 00790560




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                                          CERTIFICATE OF CONFERENCE

        I hereby certify that on February 14, 2019, I personally spoke with Mr. Andrew Wirmani,
Assistant United State Attorney regarding this motion, and he stated that he was UNOPPOSED to
the granting of this motion.


                                                     /s/ Michael D. Payma
                                                     MICHAEL D. PAYMA



                                             CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing has been forwarded to Assistant United
States Attorney in charge of this case, on February 18, 2019, utilizing the ECF system which sent
notification of the filing and a link to an electronic copy the document to all parties that participated
in the ECF system.

                                                        /s/ Michael D. Payma
                                                        Michael D. Payma




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